Case 3:13-cv-02965-MMC Document 435 Filed 11/13/15 Page 1 of 15




                  EXHIBIT 9
        To Declaration of Paul Alexander
                     Part 2
Case 3:13-cv-02965-MMC Document 435 Filed 11/13/15 Page 2 of 15
Case 3:13-cv-02965-MMC Document 435 Filed 11/13/15 Page 3 of 15
Case 3:13-cv-02965-MMC Document 435 Filed 11/13/15 Page 4 of 15
Case 3:13-cv-02965-MMC Document 435 Filed 11/13/15 Page 5 of 15
Case 3:13-cv-02965-MMC Document 435 Filed 11/13/15 Page 6 of 15
Case 3:13-cv-02965-MMC Document 435 Filed 11/13/15 Page 7 of 15
Case 3:13-cv-02965-MMC Document 435 Filed 11/13/15 Page 8 of 15
Case 3:13-cv-02965-MMC Document 435 Filed 11/13/15 Page 9 of 15
Case 3:13-cv-02965-MMC Document 435 Filed 11/13/15 Page 10 of 15
Case 3:13-cv-02965-MMC Document 435 Filed 11/13/15 Page 11 of 15
Case 3:13-cv-02965-MMC Document 435 Filed 11/13/15 Page 12 of 15
Case 3:13-cv-02965-MMC Document 435 Filed 11/13/15 Page 13 of 15
Case 3:13-cv-02965-MMC Document 435 Filed 11/13/15 Page 14 of 15
Case 3:13-cv-02965-MMC Document 435 Filed 11/13/15 Page 15 of 15
